       Case 4:22-cr-00115-JFH Document 155 Filed in USDC ND/OK on 01/06/23 Page 1 of 1


                                            UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF OKLAHOMA


 United States of America,
                                                           Plaintiff,       Case No.:      22-cr-00115-JFH-5
 vs.                                                                        Date:          1/6/2023
                                                                            Court Time:    11:10 a.m. to 11:36 a.m.

 Izabella Marie Boling,
                                                       Defendant(s).        MINUTE SHEET CHANGE OF PLEA

Beth M. Deere, U.S. Magistrate Judge                   C. Portilloz, Deputy Clerk         FTR CR5

Counsel for Plaintiff:    David Nasar
Counsel for Defendant: Scott Troy                         , Appt.
Probation Officer:        not present
Age of Defendant:         26                              Interpreter:                                      ☐ sworn
Defendant appears in person: ☒ with Counsel;           ☐ Counsel waived;       ☐ w/o Counsel;               Defendant:    ☒ sworn;
☒ Defendant Consents to Magistrate conducting Guilty Plea Hearing
Defendant’s name as reflected in the Information
         ☒ Verified in open court as the true and correct legal name
☒ Defendant acknowledges receipt of Information
Defendant waives:        ☐ Indictment; ☒ Jury Trial;      ☐ Speedy Trial;           ☒ 30 Days Preparation; ☐ Separate Representation
                         ☒ Waivers approved by Court;
Defendant advised of: ☒ Charge and ☒ Information                                    Information:         ☒ Summarized
☒ Defendant relates facts of charge
☒ Petition to enter plea of Guilty sworn and executed
☒ Defendant withdraws not guilty plea(s) as to those Count(s) 1
  of the Information and Defendant enters guilty plea(s) as to those counts
☒ Defendant adjudged guilty as charged as to Count(s) 1
  of the Information
☒ Petition approved in open court                       ☒ Plea Agreement approved in open Court                       ☒ PSI ordered
☒ Remaining Count(s) to be dismissed at sentencing: Indictment
☒ SENTENCING to be scheduled upon completion of PSI
☒ Defendant remanded to custody of U.S. Marshal
Additional Minutes:




Change Plea Magistrate Judge                                                                                                  (8/2021)
